                    NO. 23-15992

IN THE UNITED STATES COURT OF APPEALS
           FOR THE NINTH CIRCUIT
  –––––––––––––––––––––––––––––––––––––––––––––
       FEDERAL TRADE COMMISSION,
            Plaintiff-Appellant,
                          v.
           MICROSOFT CORP., and
         ACTIVISION BLIZZARD, INC.,
             Defendants-Appellees.
 –––––––––––––––––––––––––––––––––––––––––––––
    On Appeal from the United States District Court
        for the Northern District of California
                   No. 3:23-cv-2880
     (Hon. Jacqueline Scott Corley, U.S. Distr. J.)
 –––––––––––––––––––––––––––––––––––––––––––––
   THE FEDERAL TRADE COMMISSION’S
  MOTION TO FILE DOCUMENTS UNDER
 SEAL PURSUANT TO CIRCUIT RULE 27-13
 –––––––––––––––––––––––––––––––––––––––––––––
                               ANISHA S. DASGUPTA
                               General Counsel
                               MARIEL GOETZ
                               Acting Director of Litigation
                               IMAD D. ABYAD
                               Attorney
                               FEDERAL TRADE COMMISSION
                               600 Pennsylvania Avenue, NW
                               Washington, DC 20580
                               (202) 326-3579
                               iabyad@ftc.gov
           MOTION TO FILE DOCUMENTS UNDER SEAL

     Appellant, the Federal Trade Commission (FTC), moves pursuant

to Circuit Rule 27-13 for leave to file under seal its Opening Brief and

Volume 3 of appellant’s excerpts of records (attached hereto as Exhibits

A & B, respectively).

     While courts apply a “strong presumption in favor of access” to

court records, “[i]n general, ‘compelling reasons’ sufficient to outweigh

the public’s interest in disclosure and justify sealing court records exist

when such ‘court files might have become a vehicle for improper

purposes,’ such as the use of records to … release trade secrets.”

Kamakana v. City and Cty. Of Honolulu, 447 F.3d 1172, 1178-79 (9th

Cir. 2006) (quoting Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598

(1978)).

     Compelling reasons support granting the motion. The FTC’s

Opening Brief and Volume 3 of appellant’s excerpts of records contain

confidential, competitively sensitive business information provided by

defendants Microsoft Corp. and Activision Blizzard, Inc., and by third

parties, including NVIDIA Corporation, Sony Interactive

Entertainment, and others, during the course of the FTC’s investigation
of defendants’ proposed merger. Microsoft, Activision, Nvidia, and Sony

designated certain of this information as confidential pursuant to

Section 21 of the FTC Act, 15 U.S.C. § 57b-2. Other portions of the

Opening Brief and Volume 3 of appellant’s excerpts of records contain

information that was obtained during the course of litigation discovery

in In the matter of Microsoft Corp. and Activision, Blizzard, Inc., FTC

Docket No. 9412, before the United States of America Federal Trade

Commission Office of Administrative Law Judges, and that the

producing party has designated as “Confidential” pursuant to the

Protective Order Governing Confidential Material entered on December

9, 2022.

     Because this Court may benefit from review of the unredacted

material in the Opening Brief and Volume 3 of appellant’s excerpts of

records, the FTC asks for leave to file its Opening Brief and Volume 3 of

appellant’s excerpts of records under seal.

     A redacted version of the FTC’s Opening Brief will be filed on the

public record upon receipt of the Court’s instructions. Moreover, the

portions of the Opening Brief sought to be redacted are highlighted in

the unredacted version filed herewith as Exhibit A.



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                            CONCLUSION

     For the foregoing reasons, the FTC asks that its Opening Brief

and Volume 3 of appellant’s excerpts of records be filed under seal.

                                        Respectfully submitted,

                                        ANISHA S. DASGUPTA
                                        General Counsel
                                        MARIEL GOETZ
                                        Acting Director of Litigation
Dated: August 9, 2023                    /s/ Imad Abyad
                                        IMAD D. ABYAD
                                        Attorney
                                        FEDERAL TRADE COMMISSION
                                        600 Pennsylvania Avenue, NW
                                        Washington, DC 20580
                                        (202) 326-3579
                                        iabyad@ftc.gov

                                        Counsel for
                                        Federal Trade Commission




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                 CERTIFICATE OF COMPLIANCE

     I certify that the foregoing motion complies with the length limits

and format requirements in Fed. R. App. P. 27(d) and Circuit Rule 27-1,

because it does not exceed 20 pages, and has been prepared in

proportionally spaced typeface using Microsoft Word 2010 in 14-point

Century Schoolbook font.

                                 /s/ Imad Abyad
                                 IMAD D. ABYAD
Date: August 9, 2023             Attorney
                                 FEDERAL TRADE COMMISSION
                    CERTIFICATE OF SERVICE

     I certify that on August 9, 2023, I filed the foregoing motion with

the Court’s appellate CM/ECF system. Counsel for defendants-appellees

are registered users of the Court’s appellate CM/ECF system. I further

certify that an electronic copy of the foregoing was emailed to counsel

for defendants-appellees at their registered email addresses.

                                  /s/ Imad Abyad
                                  IMAD D. ABYAD
Date: August 9, 2023              Attorney
                                  FEDERAL TRADE COMMISSION
EXHIBIT A
   (APPELLANT’S OPENING BRIEF)
 (FILED AS A SEPARATE ATTACHMENT)
EXHIBIT B
(VOLUME 3 OF APPELLANT’S EXCERPTS OF RECORDS)
      (FILED AS A SEPARATE ATTACHMENT)
